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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

JEFFERSON-PILOT INVESTMENTS, INC., a               )
North Carolina corporation,                        )
                                                   )
    Plaintiff,                                     )   Case No. 10-cv-07633
                  v.                               )
                                                   )   Judge Matthew F. Kennelly
CAPITAL FIRST REALTY, INC., an Illinois            )
corporation, SUNSET VILLAGE LIMITED                )   Magistrate Judge Jeffrey N. Cole
PARTNERSHIP, an Illinois limited partnership;      )
TCF NATIONAL BANK, a national banking              )
association; L H BLOCK ELECTRIC                    )
COMPANY, INC., an Illinois corporation,            )
DOHERTY, GIANNINI, REITZ                           )
CONSTRUCTION, INC., an Illinois corporation,       )
and EAGLE HEATING & COOLING INC., an               )
Illinois corporation, and LAYNE CHRISTENSEN )
COMPANY, a Delaware corporation; and               )
LAYNE-WESTERN, a division of Layne                 )
Christensen Company, a Delaware corporation,       )
                                                   )
     Defendants.                                   )
_________________________________________ )
                                                   )
JEFFERSON-PILOT INVESTMENTS, INC., a               )
North Carolina corporation,                        )
                                                   )
    Counter-Defendant/Counter-Plaintiff,           )
                                                   )
v.                                                 )
                                                   )
THE KLARCHEK FAMILY TRUST, a Trust                 )
organized under the laws of the State of Illinois; )
JOHN COSTELLO, not individually but solely as )
Trustee of the Klarchek Family Trust; JOHN         )
LOGIUDICE, not individually but solely as          )
Trustee of the Klarchek Family Trust; WOLIN,       )
KELTER and ROSEN, LTD., an Illinois                )
corporation; BAUCH & MICHAELS, LLC, an             )
Illinois limited liability company; CAPITAL        )
FIRST REALTY, INC., an Illinois corporation;       )
CAPITAL HOME SERVICES CORP., an Illinois )
corporation; GILSON, LABUS & SILVERMAN, )


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LLC an Illinois limited liability company; JAY       )
KLARCHEK, an individual, MICHAEL                     )
PASHAWITZ, an individual, and SUNSET                 )
VILLAGE LIMITED PARTNERSHIP, an Illinois             )
limited partnership;                                 )
                                                     )
   Third-Party Defendants.                           )
                                                     )


                                            ORDER

        Receiver, Steven S. Spinell, filed his Third Receiver Report [Docket #207] on November

28, 2011, covering the time period of September 9, 2011 through November 8, 2011, and

requesting payment in the amount of $10,898.76 for services rendered;

        No objections were filed with respect to the Third Receiver Report;

        The Court approved the Third Receiver Report on December 11, 2011 [Docket #222];

        IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that Receiver, Steven

S. Spinell, is authorized to make payment to himself out of Receivership funds for compensation

in the sum of $10,898.76.




Date: December 14, 2011                           s/ Matthew F. Kennelly
                                             MATTHEW F. KENNELLY
                                             UNITED STATES DISTRICT JUDGE




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